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                                                                                                           BACKGRID USA, INC.
                                                                                                         8
                                                                                                                                  UNITED STATES DISTRICT COURT
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                                                                                                                                CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                        11 BACKGRID USA, INC.,                              Case No. 2:19-cv-06078-CJC (MRWx)
                                                                                                        12                            Plaintiff,            JOINT RULE 26(f) REPORT
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                                                                                                        13                v.
                                                                                                        14 CITIZENS OF HUMANITY, LLC,
                                                                                                        15                            Defendant.            Hon. Cormac J. Carney
                                                                                                        16
                                                                                                              CITIZENS OF HUMANITY, LLC,
                                                                                                        17
                                                                                                                                      Counterclaimant,
                                                                                                        18
                                                                                                                          v.
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                                                                                                              BACKGRID USA, INC.,
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                                                                                                                                      Counter-defendant.
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                                                                                                         1               On September 26, 2019, Steven E. Lauridsen and Brian K. Brookey of
                                                                                                         2 Tucker Ellis LLP, counsel of record for Plaintiff BackGrid USA, Inc., and Keith J.
                                                                                                         3 Wesley of Browne George Ross LLP, counsel of record for Defendant Citizens of
                                                                                                         4 Humanity, LLC, engaged in a conference pursuant to Rule 26(f), the Court’s August 26,
                                                                                                         5 2019 Notice of Intent, and the local rules of this Court.
                                                                                                         6               The parties submit this joint report of their conference.
                                                                                                         7 I.            SHORT FACTUAL STATEMENT OF CLAIMS AND DEFENSES
                                                                                                         8               A.    Plaintiff’s Contentions
                                                                                                         9               Plaintiff owns and operates one of Hollywood’s largest celebrity-photograph
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                                                                                                        10 agencies and has earned a reputation of regularly breaking scoops on sought after
                                                                                                        11 celebrity news. It owns the intellectual property rights, including the copyrights, to
                                                                                                        12 celebrity photographs that have been licensed to numerous top-tier outlets such as TMZ,
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                                                                                                        13 Entertainment Tonight, New York Post, People Magazine, Huffington Post, the Daily
                                                                                                        14 Mail, as well as many television stations, newspapers, and other prominent media outlets
                                                                                                        15 throughout the world. Each license has been granted for valuable consideration, up to
                                                                                                        16 hundreds of thousands of dollars.
                                                                                                        17               Defendant operates under the brand names “Citizens of Humanity” and
                                                                                                        18 “AGOLDE” and is an apparel manufacturer with an online store and numerous lucrative
                                                                                                        19 partnerships with brick and mortar retailers such as Anthropologie, Barney’s New York,
                                                                                                        20 Fred Segal, Macy’s, Neiman Marcus, and Nordstrom in the Los Angeles area alone. On
                                                                                                        21 its website, Citizens of Humanity boasts that it is “one of the very few vertically
                                                                                                        22 integrated denim production facilities in the United States,” meaning it “manufacture[s]
                                                                                                        23 everything at [its] own sewing and laundry facilities—all located within 15 minutes of
                                                                                                        24 [its] Los Angeles based design studio, giving [it] complete control over the quality of [its]
                                                                                                        25 products.” Through various media outlets, Defendant has posted online illegal copies of
                                                                                                        26 Plaintiff’s protected photographs. Plaintiff contends that Defendant’s conduct is and was
                                                                                                        27 willful.
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                                                                                                         1               In its counterclaims, Defendant asserts that Plaintiff sent improper takedown
                                                                                                         2 notices to Instagram, LLC, resulting in a variety of claims and damages. In particular,
                                                                                                         3 Defendant asserts that Plaintiff fraudulently informed Instagram, LLC that certain
                                                                                                         4 infringing images Defendant had posted on Instagram’s platform were the subject of this
                                                                                                         5 action. This is demonstrably false.
                                                                                                         6               It is true that, pursuant to the DMCA, Plaintiff sent Instagram takedown notices
                                                                                                         7 concerning infringing posts not subject to this action, though those notices were sent
                                                                                                         8 before this action commenced. It is also true to Plaintiff’s understanding that Instagram
                                                                                                         9 apparently decided to suspend Defendant’s Instagram accounts. From there, however, the
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                                                                                                        10 facts diverge from the allegations in the counterclaim.
                                                                                                        11               At no point did Plaintiff state to Instagram that the images subject to the takedown
                                                                                                        12 notices were also the subject of this action. In fact, the day Plaintiff was made aware of
                                                                                                        13 Defendant’s counter-notifications, Plaintiff informed Instagram that Plaintiff did not
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                                                                                                        14 object to the restoration of Defendant’s accounts based on Defendant’s representations in
                                                                                                        15 its counter-notifications, which stated that “Citizens of Humanity does not request
                                                                                                        16 restoration of the content and has no intention of re-posting the photographs that were
                                                                                                        17 taken down.”
                                                                                                        18               To Plaintiff’s knowledge, Instagram reactivated Defendant’s accounts the same
                                                                                                        19 day. As these facts show, at no point did Plaintiff represent to Instagram that the
                                                                                                        20 photographs that were the subject of the takedown notices were at issue in this action.
                                                                                                        21 Defendant’s counterclaim is therefore based entirely on Defendant’s unsupported
                                                                                                        22 conjecture concerning its limited knowledge of the facts.
                                                                                                        23               B.    Defendants’ Contentions
                                                                                                        24               Defendant/Counter-Claimant Citizens of Humanity, LLC is a leading fashion
                                                                                                        25 brand with customers and fans worldwide. Citizens in part relies on social media,
                                                                                                        26 including Instagram, to promote its brand and products. Indeed, Citizens’s Instagram
                                                                                                        27 accounts, in combination, have traditionally had over 270,000 followers, and Citizens
                                                                                                        28 generates sales that are attributable to its Instagram sites.

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                                                                                                         1               On April 29, 2018, Citizens received a demand letter from a representative of
                                                                                                         2 Plaintiff/Counter-Defendant BackGrid. The letter accused Citizens of posting on its
                                                                                                         3 Instagram page three specific photographs that purportedly infringed upon photographs
                                                                                                         4 owned by BackGrid.             Although Citizens was unaware of BackGrid or any rights
                                                                                                         5 purportedly held by BackGrid in the photographs, Citizens promptly removed the three
                                                                                                         6 photographs from its Instagram account and agreed not to use them again.
                                                                                                         7 Nevertheless, BackGrid persisted with repeated requests for money, which lasted
                                                                                                         8 throughout 2018 and into 2019.
                                                                                                         9               On May 16, 2019, Citizens received an email from counsel for Backgrid. The
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                                                                                                        10 email attached a draft complaint for copyright infringement, and indicated that it would
                                                                                                        11 be filed unless Citizens agreed to Backgrid’s monetary demands. Unbeknownst to
                                                                                                        12 Citizens, the same day Backgrid’s counsel sent his email, and continuing over the
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                                                                                                        13 following few days, BackGrid sent Instagram eight separate notices of copyright
                                                                                                        14 infringement (i.e., NOCIs) related to eight different photographs on Citizens’s
                                                                                                        15 Instagram accounts. The eight photographs were completely unrelated to the three
                                                                                                        16 photographs that had been the subject of the parties’ prior communications. Backgrid
                                                                                                        17 has refused to provide any evidence relating to its ownership of copyrights for the eight
                                                                                                        18 photographs. Consequently, Citizens believes Backgrid does not possess copyrights
                                                                                                        19 relating to the eight photographs in question, but fraudulently submitted the NOCIs as
                                                                                                        20 part of a deliberate scheme to pressure Citizens by placing Citizens’s Instagram
                                                                                                        21 accounts in jeopardy of being disabled. Citizens further believes the NOCIs were sent
                                                                                                        22 to Instragram in a manner calculated to maximize the likelihood that Instagram would
                                                                                                        23 disable Citizens’s account. In essence, through the fraudulent NOCIs, BackGrid took
                                                                                                        24 Citizens’s Instagram pages hostage and would not consent to their release absent
                                                                                                        25 Citizens paying a ransom.
                                                                                                        26               On May 29, 2019, Citizens was surprised to receive a message from Instagram
                                                                                                        27 stating that it had removed eight images from Citizen’s Instagram page as a result of
                                                                                                        28 NOCIs submitted by Backgrid. That same day, Instagram informed Citizens that its

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                                                                                                         1 five Instagram accounts would soon be deleted (and thus unavailable to the hundreds of
                                                                                                         2 thousands of followers of the accounts).
                                                                                                         3               Counsel for Citizens spent the next few weeks trying to convince Instagram not
                                                                                                         4 to disable Citizens’ accounts, and even submitted a formal DMCA counter-notification
                                                                                                         5 disputing the eight NOCIs. Nonetheless, on June 28, Instagram disabled Citizens’ five
                                                                                                         6 Instagram accounts anyway.             However, Instagram stated that it would restore the
                                                                                                         7 accounts if BackGrid did not, within 14 business days of the counter-notification, file a
                                                                                                         8 lawsuit “seeking a court order to restrain you from engaging in infringing activity on
                                                                                                         9 Facebook related to that content.”
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                                                                                                        10               True to form, on July 15, BackGrid filed the complaint that initiated this
                                                                                                        11 litigation. Notably, the complaint did not accuse Citizens of infringing any of the eight
                                                                                                        12 alleged copyrights that had been the subject of the NOCIs. However, Citizens has
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                                                                                                        13 reason to believe that the lawsuit was filed within the 14 business days and sent to
                                                                                                        14 Instagram in a bad-faith attempt to deceive Instagram into continuing to disable
                                                                                                        15 Citizens’s accounts. On July 19, counsel for Citizens contacted Instagram and informed
                                                                                                        16 them that the lawsuit filed was unrelated to the eight photographs that were the subject
                                                                                                        17 of the NOCIs, and on July 24, Instagram restored all of Citizens’s accounts.
                                                                                                        18 II.           ADDITIONAL PARTIES OR AMENDED PLEADINGS
                                                                                                        19               The parties do not anticipate adding parties or amending pleadings.
                                                                                                        20 III.          SETTLEMENT DISCUSSIONS AND ADR (L.R. 26-1(C); L.R. 16-15):
                                                                                                        21               The parties have previously engaged in settlement discussions. BackGrid believes
                                                                                                        22 an early mediation may assist in a resolution of this matter. Citizens believes discovery is
                                                                                                        23 necessary before any ADR can be productive.                 The parties select ADR Procedure
                                                                                                        24 Number 2 (Court Mediation Panel).
                                                                                                        25
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                                                                                                         1 IV.           DISCOVERY PLAN
                                                                                                         2               A.    Initial Disclosures (F.R.C.P. 26(f)(3)(A))
                                                                                                         3               The parties have agreed to exchange initial disclosures under Rule 26(a)(1) by
                                                                                                         4 October 10, 2019. The parties do not believe that any other changes in the disclosures
                                                                                                         5 under Fed. R. Civ. P. 26(a) should be made.
                                                                                                         6               B.    Subjects On Which Discovery May Be Needed (F.R.C.P. 26(f)(3)(B))
                                                                                                         7               Discovery will be need on at least the following topics: (1) the creation, ownership,
                                                                                                         8 and registration of the subject copyrighted photographs; (2) Defendant’s knowledge of
                                                                                                         9 the subject photographs; (3) Defendant’s alleged infringement of Plaintiff’s copyrights;
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                                                                                                        10 (4) the affirmative defenses asserted by the parties; (5) communications or lack thereof
                                                                                                        11 with Instagram, LLC; and (6) damages.
                                                                                                        12               C.    Discovery Cut-Off Date (F.R.C.P. 26(f)(3)(B))
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                                                                                                        13               The parties propose a fact discovery cut-off of March 20, 2020, and an expert
                                                                                                        14 discovery cutoff of May 15, 2020.
                                                                                                        15               D.    Phased Discovery (F.R.C.P. 26(f)(3)(B))
                                                                                                        16               The parties request that the Court bifurcate discovery such that expert discovery
                                                                                                        17 occurs after the close of fact discovery.
                                                                                                        18               E.    Electronically Stored Information (F.R.C.P. 26(f)(3)(C))
                                                                                                        19               The parties agree that electronically stored information (“ESI”) should be produced
                                                                                                        20 in its native electronic format with all metadata intact where possible. The parties intend
                                                                                                        21 to negotiate an ESI protocol to present to the Court for approval. Plaintiff is currently
                                                                                                        22 preparing that proposal.
                                                                                                        23               F.    Issues About Claims of Privilege or Other Protection
                                                                                                        24                     (F.R.C.P. 26(f)(3)(D))
                                                                                                        25               The parties anticipate submitting a stipulated protective order to the Court for
                                                                                                        26 approval. The parties agree the protective order should be two tiered, and that it contain a
                                                                                                        27 clawback for inadvertently produced privileged material pursuant to modified
                                                                                                        28 Fed. R. Evid. 502 procedures.

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                                                                                                         1               G.    Changes to Limitations to Discovery (F.R.C.P. 26(f)(3)(E))
                                                                                                         2               The parties agree that expert depositions should not count against the total limit of
                                                                                                         3 depositions.
                                                                                                         4               The parties do not otherwise believe that any changes should be made in the
                                                                                                         5 limitations on discovery imposed under the Federal Rules of Civil Procedure or the
                                                                                                         6 Court’s Local Rules, nor do the parties believe that other limitations should be imposed
                                                                                                         7 on discovery.
                                                                                                         8               H.    Any Other Orders That The Court Should Issue Under Rule 26(c) or
                                                                                                         9                     Under Rule 16(b) and (c) (F.R.C.P. 26(f)(3)(F))
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                                                                                                        10               The parties do not anticipate any proposal or issue regarding special procedures,
                                                                                                        11 severance, bifurcation, or other ordering of proof.
                                                                                                        12 V.            ISSUES CONTEMPLATED BY L.R. 26-1
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                                                                                                        13               The parties do not believe that the Court need adopt any procedures from the
                                                                                                        14 Manual for Complex Litigation. L.R. 26-1(a).
                                                                                                        15               The parties propose that initial expert reports under Fed. R. Civ. P. 26(a)(2) should
                                                                                                        16 be due 10 days after the close of fact discovery (if the Court bifurcates fact and expert
                                                                                                        17 discovery) as shown below. The parties further agree that rebuttal reports shall be due 21
                                                                                                        18 days after initial reports are served.
                                                                                                        19               The remaining issues contemplated by Local Rule 26-1 are discussed elsewhere in
                                                                                                        20 this report.
                                                                                                        21 VI.           TRIAL AND OTHER DATES
                                                                                                        22               The parties propose the following dates:
                                                                                                        23                    Event                   Parties’ Proposal
                                                                                                        24 Fact Discovery Cutoff                 March 20, 2020
                                                                                                        25 Initial Expert Reports                March 30, 2020
                                                                                                        26 Rebuttal Expert Reports               April 20, 2020
                                                                                                        27 Expert Discovery Cutoff               May 15, 2020
                                                                                                        28 Motion Hearing Cutoff                 July 20, 2020
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                                                                                                         1
                                                                                                             Final Pretrial Conference           August 17, 2020
                                                                                                         2
                                                                                                             Trial                               September 1, 2020
                                                                                                         3
                                                                                                             The parties currently anticipate that trial will last 4 days and will be a jury trial.
                                                                                                         4
                                                                                                         5 DATED: October 10, 2019                            TUCKER ELLIS LLP
                                                                                                         6
                                                                                                         7                                                     By:     /s/Steven E. Lauridsen
                                                                                                         8                                                             Brian K. Brookey
                                                                                                                                                                       Steven E. Lauridsen
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                                                                                                                                                                       Attorneys for Plaintiff and Counter-
                                                                                                        10                                                             defendant,
                                                                                                                                                                       BACKGRID USA, INC.
                                                                                                        11
                                                                                                        12
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                                                                                                        13 DATED: October 10, 2019                             BROWNE GEORGE ROSS LLP
                                                                                                        14
                                                                                                        15
                                                                                                                                                               By:     /s/Keith J. Wesley
                                                                                                        16                                                             Peter W. Ross
                                                                                                                                                                       Keith J. Wesley
                                                                                                        17
                                                                                                                                                                       Attorneys for Defendant and
                                                                                                        18                                                             Counterclaimant,
                                                                                                                                                                       CITIZENS OF HUMANITY, LLC
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22                                       FILER’S ATTESTATION

                                                                                                        23               Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of this document attests that all

                                                                                                        24 other signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
                                                                                                        25 contents and have authorized the filing.
                                                                                                        26
                                                                                                        27                                                         /s/Steven E. Lauridsen

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